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                EXHIBIT 1
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                   UNITED STATES DISTRICT COURT

                      DISTRICT OF MASSACHUSETTS

                            NO. 1:17-cv-12239



      ASTELLAS INSTITUTE FOR REGENERATIVE

      MEDICINE, AND STEM CELL & REGENERATIVE

      MEDICINE INTERNATIONAL, INC.,

                            Plaintiffs,

                      vs.

      IMSTEM BIOTECHNOLOGY, INC., XIAOFANG

      WANG, AND REN-HE XU,

                            Defendants.               HIGHLY

                                                      CONFIDENTIAL




                         CONTINUED VIDEOTAPED DEPOSITION OF

      XIAOFANG WANG, MD, PhD, called as a witness by and

      on behalf of the Plaintiffs, pursuant to the

      applicable provisions of the Federal Rules of Civil

      Procedure, before P. Jodi Ohnemus, RPR, RMR, CRR,

      CA-CSR #13192, NH-LSR #91, MA-CSR #123193, and

      Notary Public, within and for the Commonwealth of

      Massachusetts, at Latham & Watkins LLP, 200

      Clarendon Street, Boston, Massachusetts, on Monday,

      July 29, 2019, commencing at 1:13 p.m.



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  1     models.

  2            Q.   Let me show you what's been previously

        marked as Exhibit 71.        It's a copy of US Patent

        8,963,321.

               A.   (Witness reviews document.)

                    (Exhibit 71, previously marked.)

               Q.   So if you look at -- have you reviewed the

        '321 patent before?

               A.   Yes.

 10.           Q.   And when have you reviewed the '321

 11     patent?

 12            A.   So only until recently, and I think is

 18.    after my deposition I carefully review this one.

 14    Before the deposition I know this patent, but I

 15     didn't spend time to carefully review this.

 10            Q.   All right.     So if you look at column 9.

 17          A.     Which page?

 18            Q.   It's -- if you look at the column numbers

 19     at the top of the page, it has a number 9 at the

 20     top.

             A.     Uh-huh.    (Witness reviews document.)    Ah,

 22-   here.

 23          Q.     Yeah.     And you see there's a discussion of

 24    the figures, figure 11, 11B, 12, and then figure

 25    13?



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